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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES – GENERAL

Case No. 2:22-cv-02831-MEMF-AFM                                         Date: June 24, 2022
Title      Roxanne Teresa Rojas v. Kilolo Kijakazi


Present: The Honorable:      ALEXANDER F. MacKINNON, U.S. Magistrate Judge
                  Ilene Bernal                                            N/A
                  Deputy Clerk                                   Court Reporter / Recorder

         Attorneys Present for Plaintiff:                    Attorneys Present for Defendant:
                      N/A                                                  N/A

Proceedings (In Chambers): Order to Show Cause

        Pursuant to the Court’s Order of April 29, 2022 (ECF No. 9), plaintiff was ordered to file a
Proof of Service showing compliance with Paragraph 1 of the Court’s Order within thirty (30) days
of the date of the Order, i.e., by May 29, 2022. To date, the Proof of Service has not been filed with
the Court. Accordingly, no later than July 8, 2022, plaintiff is ordered to show cause why this case
should not be dismissed for failure to prosecute and failure to follow Court orders. Filing of the
Proof of Service on or before July 8, 2022, shall be sufficient for discharge of this Order to Show
Cause.

        IT IS SO ORDERED.




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                                                                   Initials of Preparer           ib




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